Case 2:04-cr-20359-.]Pl\/| Document 158 Filed 04/20/05 Page 1 of 4 Page|D 211

F"'""* ‘ UJM- IN THE UNlTED STATES DlsTRlCT CoURT

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HVR 29 *JF:‘ *+' 5 WESTERN DIVISIoN

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Plaintiff,
vs. NO : 2:04cr2035 -
C
MO_T_IOH GBANTED . . M
JoRDAN LUNAREZ RUIZ, mg P§II§;§:YTC Crlr.%;'f§
Det`endant. .'28 l 200§
F“ DATF:

 

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COMES NOW Attorney, Craig V. |V|orton, counsel for Defendant, Jordan Lunar

Ruiz, and moves this Honorab|e Court to allow him to withdraw from further

representation of Defendant in the above-styled cause of action. |n support thereof,

eouendwoo u|1aaus1a)100p am uo palatlJB ;UOW"°OP 3qu

/§O»~?,?'

counsel would respectfully show as follows:

1) On or about August 23, 2004, said attorney was retained by the Defendant to
represent him in this cause. Since that date, Defendant has absconded from the court.
Defendant has not responded to Federa| Express or Certified Retum Receipt
Requested l\/lai| or in any way maintained any contact with his attorneyl As such,
Counsel cannot adequately and effectively represent the Defendant.

2) Based upon the untenable position Defendant has placed counsel, counsel is
unable to continue representing Defendant. Defendant’s own impossible lack of

cooperation and flight has rendered adequate and effective representation

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VVHEREFORE, PRE|V||SES CONS|DERED, counsel respectfully requests to be
allowed to withdraw from any further representation of the Defendant in the above-

sty|ed case.
Respectful|y submitted,

N|ORTON & GERMANY

B_Ca(\/Mlzt;\/

yCRi-\|G V l\/lORTON (14969)
Attorney for Defendant

200 Jefferson, Suite 725
l\/|emphis, Tennessee 38103
Te|ephone: (901) 522-0050

 

CERT|F|CATE OF SERV|CE
|, the undersigned, do hereby certify that a true and exact copy of the foregoing

document has been served upon all concerned parties, via hand- -de|iverx or by placing
the same in the United States mai|, postage pre- paid on this_OlL~Day of p_nl, 2005.

rij

cRAlc v. MoRToN

 

UNITED `SATES DISTRIC COUR - WTERN D'S'CTRT OFTENNESSEE

   

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This notice confirms a copy of the document docketed as number 158 in
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Honorable J on McCalla
US DISTRICT COURT

